  Case  23-13359-VFP
    UNITED               Doc 1169
           STATES BANKRUPTCY  COURTFiled 07/02/23                                Entered 07/03/23 00:15:00                Desc
                        Imaged
    DISTRICT OF NEW JERSEY     Certificate of Notice                             Page 1 of 23
     Caption in Compliance with D.N.J. LBR 9004-1(b)

     MORITT HOCK & HAMROFF LLP
     Marshall O. Dworkin, Esq.
     Leslie A. Berkoff, Esq.
     1407 Broadway, Suite 3900
                                                                                 Order Filed on June 30, 2023
     New York, NY 10018                                                          by Clerk
     Tel: (212) 239-2000                                                         U.S. Bankruptcy Court
     mdworkin@moritthock.com                                                     District of New Jersey
     lberkoff@moritthock.com
     -and-
     GLASS & GOLDBERG
     Marshall Goldberg, Esq.
     (Pro Hac Vice application pending)
     22917 Burbank Blvd.,
     Woodland Hills, CA 91367-4203
     Tel: (818) 474-1532 or (818) 888-2220
     mgoldberg@glassgoldberg.com
                                                                        Case No.:      ____23-13359 (VFP)______
     Attorneys for Studio City East 93K LLC
                                                                        Chapter:      ________11_____________
      In re:
                                                                        Judge:        _____Papalia_____________
      BED BATH & BEYOND INC., et al.,
                                                                        (Joint Administration Requested)
                                                Debtors.1

                                           ORDER GRANTING ADMISSION
                           PRO HAC VICE OF MARSHALL GOLDBERG, ESQUIRE


    The relief set forth on the following pages, numbered two (2) through three (3) is hereby
ORDERED.


     DATED: June 30, 2023




 1
   The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of the
 Debtors in these Chapter 11 Cases and each such Debtor’s tax identification number may be obtained on the website of
 the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of Debtor Bed
 Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these Chapter 11 Cases is 650
 Liberty Avenue, Union, New Jersey 07083.
 3308062v1
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            This matter having been brought before the Court on application for an Order For
  Admission Pro Hac Vice; and the Court having reviewed the moving papers of the applicant,
  out-of-state attorney, and considered this matter pursuant to D.N.J. L.Civ.R.101.1 and D.N.J.
  LBR 9010-1, and good cause having been shown; it is


            ORDERED that Marshall Goldberg be permitted to appear pro hac vice; provided that
  pursuant to D.N.J. L.Civ. R. 101.1(c)(4), an appearance as counsel of record shall be filed
  promptly by a member of the bar of this Court upon whom all notices, orders and pleadings may
  be served, and who shall promptly notify the out-of-state attorney of their receipt. Only an
  attorney at law of this Court may file papers, enter appearances for parties, sign stipulations, or
  sign and receive payments on judgments, decrees or orders, and it is further


            ORDERED that the applicant shall arrange with the New Jersey Lawyers' Fund for Client
  Protection for payment of the annual fee, for this year and for any year in which the out-of-state
  attorney continues to represent a client in a matter pending in this Court in accordance with New
  Jersey Court Rule 1:28-2 and D.N.J. L. Civ. R. 101.1, said fee to be deposited within twenty (20)
  days of the date of the entry of this Order, and it is further


            ORDERED that the $150.00 fee required by D.N.J. L. Civ. R. 101(c)(3) for pro hac vice
  admission to the District Court for the District of New Jersey shall also be payable within twenty
  (20) days of entry of this Order. Payment in the form of a check must be payable to "Clerk,
  USDC" and forwarded to the Clerk of the United States District Court for the District of New
  Jersey at the following address:


                              United States District Court District of New Jersey
                                 Martin Luther King, Jr. Jr. Federal Building
                                               50 Walnut Street
                                             Newark, N.J. 07102
                                     Attention: Pro Hac Vice Admissions



            and it is further ORDERED that the applicant shall be bound by the Local Rules of the
  United States District Court for the District of New Jersey and the Local Rules of Bankruptcy
  Procedure for the District of New Jersey; and it is further


                                                    2
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            ORDERED that the Clerk shall forward a copy of this Order to the Treasurer of New
  Jersey Lawyers' Fund for Client Protection within 5 days of its date of entry.




                                                  3
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                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 23-13359-VFP
Bed Bath & Beyond Inc.                                                                                                 Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0312-2                                                  User: admin                                                                 Page 1 of 20
Date Rcvd: Jun 30, 2023                                               Form ID: pdf903                                                           Total Noticed: 10
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jul 02, 2023:
Recip ID                 Recipient Name and Address
db                     + Bed Bath & Beyond Inc., 650 Liberty Avenue, Union, NJ 07083-8107
aty                    + Casey McGushin, 3101 Old Jacksonville Road, Springfield, IL 62704-6488
aty                    + Charles B. Sterrett, Kirkland & Ellis, 300 North LaSalle Street, Chicago, IL 60654-5412
aty                    + Derek I. Hunter, Kirkland & Ellis LLP, 601 Lexington Avenue, New York, NY 10022-4643
aty                    + Emily E. Geier, Kirkland & Ellis LLP, 601 Lexington Avenue, New York, NY 10022-4643
aty                    + Jacob E. Black, Kirkland and Ellis LLP,, 3101 Old Jacksonville Road, Springfield, IL 62704-6488
aty                    + Kirkland & Ellis LLP, 601 Lexington Avenue, New York, NY 10022-4643
aty                    + Olivia F. Acuna, Kirkland and Ellis LLP, 601 Lexington Avenue, New York, NY 10022-4643
aty                    + Richard U.S. Howell, P.C, KIRKLAND & ELLIS LLP, KIRKLAND & ELLIS INTERNATIONAL LLP, 300 North LaSalle Street,
                         Chicago, IL 60654-5412
aty                    + Ross Fiedler, Kirklnd & Ellis LLP, 601 Lexington Avenue, New York, NY 10022-4643

TOTAL: 10

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jul 02, 2023                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 30, 2023 at the address(es) listed below:
Name                               Email Address
Aaron Applebaum
                                   on behalf of Creditor Ridgeport Limited Partnership aaron.applebaum@us.dlapiper.com
                                   aaron--applebaum--3547@ecf.pacerpro.com

Aaron Applebaum
           Case 23-13359-VFP             Doc 1169 Filed 07/02/23                         Entered 07/03/23 00:15:00                   Desc
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Date Rcvd: Jun 30, 2023                                        Form ID: pdf903                                                     Total Noticed: 10
                             on behalf of Creditor CR Mount Pleasant LLC aaron.applebaum@us.dlapiper.com, aaron--applebaum--3547@ecf.pacerpro.com

Aaron Applebaum
                             on behalf of Creditor CR West Ashley LLC aaron.applebaum@us.dlapiper.com, aaron--applebaum--3547@ecf.pacerpro.com

Aaron Applebaum
                             on behalf of Interested Party Continental Realty Corporation aaron.applebaum@us.dlapiper.com
                             aaron--applebaum--3547@ecf.pacerpro.com

Aaron Applebaum
                             on behalf of Interested Party WM Sunset & Vine LLC aaron.applebaum@us.dlapiper.com
                             aaron--applebaum--3547@ecf.pacerpro.com

Aaron R. Cahn
                             on behalf of Creditor The Bank of New York Mellon cahn@clm.com CourtMail@clm.com

Alan J. Brody
                             on behalf of Creditor Alexander's Rego Shopping Center Inc. brodya@gtlaw.com, NJLitDock@gtlaw.com

Alan J. Brody
                             on behalf of Creditor JPMorgan Chase Bank N.A. brodya@gtlaw.com NJLitDock@gtlaw.com

Albert Anthony Ciardi, III
                             on behalf of Interested Party Anna Mscisz Trust aciardi@ciardilaw.com sfrizlen@ciardilaw.com;dtorres@ciardilaw.com

Albert Anthony Ciardi, III
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                             sfrizlen@ciardilaw.com;dtorres@ciardilaw.com

Albert Anthony Ciardi, III
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Alexander F. Barth
                             on behalf of Creditor The Chen Liu and Shu Fen Lie Revocable Trust abarth@cohenseglias.com

Alexandria Nikolinos
                             on behalf of U.S. Trustee U.S. Trustee alexandria.nikolinos@usdoj.gov

Allen J Barkin
                             on behalf of Creditor LOGIXAL INC. abarkin@sbmesq.com sandyr@sbmesq.com

Allen Joseph Underwood, II
                             on behalf of Creditor 12535 SE 82nd AVE LLC aunderwood@litedepalma.com
                             ajunderwood@ecf.courtdrive.com;grodriguez@litedepalma.com

Allyson Stavis
                             on behalf of Interested Party Nordstrom Inc. astavis@atllp.com

Amish R. Doshi
                             on behalf of Creditor Oracle America Inc. amish@doshilegal.com

Amy Elizabeth Vulpio
                             on behalf of Creditor Salesforce.com inc. vulpioa@whiteandwilliams.com

Andrew Braunstein
                             on behalf of Creditor Commission Junction LLC andrew.braunstein@lockelord.com

Andy Winchell
                             on behalf of Creditor Dong Koo Kim and Jong Ok Kim Trustees of the Dong Koo Kim and Jong Ok Kim Family Trust, dated
                             October 18, 1996 andy@winchlaw.com,
                             awinchellecf@gmail.com;katharine@winchlaw.com;winchellar94173@notify.bestcase.com

Andy Winchell
                             on behalf of Creditor River Park Properties II LP andy@winchlaw.com,
                             awinchellecf@gmail.com;katharine@winchlaw.com;winchellar94173@notify.bestcase.com

Angela L Mastrangelo
                             on behalf of Interested Party CTC Phase II LLC mastrangelo@bk-legal.com, bhoffmann@bk-legal.com

Angela L Mastrangelo
                             on behalf of Interested Party Valley Square I L.P. mastrangelo@bk-legal.com, bhoffmann@bk-legal.com

Angela L Mastrangelo
                             on behalf of Interested Party Christiana Town Center LLC mastrangelo@bk-legal.com, bhoffmann@bk-legal.com

Anthony Sodono, III
                             on behalf of Creditor Salmar Properties LLC asodono@msbnj.com

Arthur Abramowitz
                             on behalf of Other Prof. Golf & Tennis Pro Shops Inc. (d/b/a/ PGA TOUR Superstore) aabramowitz@shermansilverstein.com,
                             jbaugh@shermansilverstein.com

Barbra Rachel Parlin
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                          on behalf of Creditor ALTO Northpoint LP barbra.parlin@hklaw.com,
                          elvin.ramos@hklaw.com;glenn.huzinec@hklaw.com,HAPI@HKLAW.COM;hapi@hklaw.com;jjalemany@hklaw.com

Beth E Levine
                          on behalf of Creditor Committee Official Committee Of Unsecured Creditors blevine@pszjlaw.com

Bradford J. Sandler
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                          mseidl@pszjlaw.com;lsc@pszjlaw.com

Brett D. Goodman
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                          on behalf of Creditor KIR Pasadena II L.P. brett.goodman@afslaw.com john.murphy@troutman.com

Brett D. Goodman
                          on behalf of Creditor KIR Brandon 011 LLC brett.goodman@afslaw.com, john.murphy@troutman.com

Brett D. Goodman
                          on behalf of Creditor Chico Crossroads L.P. brett.goodman@afslaw.com, john.murphy@troutman.com

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                          on behalf of Creditor Talisman Towson Limited Partnership brett.goodman@afslaw.com john.murphy@troutman.com

Brett D. Goodman
                          on behalf of Creditor Airport Plaza LLC brett.goodman@afslaw.com, john.murphy@troutman.com

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                          on behalf of Creditor WRI Mueller LLC brett.goodman@afslaw.com, john.murphy@troutman.com

Brett D. Goodman
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Brett D. Goodman
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                          on behalf of Creditor KIR MONTGOMERY 049 LLC brett.goodman@afslaw.com, john.murphy@troutman.com

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                          on behalf of Creditor KIR Soncy L.P. brett.goodman@afslaw.com john.murphy@troutman.com

Brett D. Goodman
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Brett D. Goodman
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Brett D. Goodman
                          on behalf of Creditor Redfield Promenade LP brett.goodman@afslaw.com, john.murphy@troutman.com

Brett D. Goodman
                          on behalf of Creditor Conroe Marketplace S.C. L.P. brett.goodman@afslaw.com, john.murphy@troutman.com

Brett D. Goodman
                          on behalf of Creditor Mooresville Crossing LP brett.goodman@afslaw.com, john.murphy@troutman.com

Brett D. Goodman
                          on behalf of Creditor Price/Baybrook Ltd. brett.goodman@afslaw.com john.murphy@troutman.com

Brett D. Goodman
                          on behalf of Creditor Franklin Park S.C. LLC brett.goodman@afslaw.com, john.murphy@troutman.com

Brett D. Goodman
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           Case 23-13359-VFP          Doc 1169 Filed 07/02/23                        Entered 07/03/23 00:15:00                 Desc
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Date Rcvd: Jun 30, 2023                                     Form ID: pdf903                                                   Total Noticed: 10
                          on behalf of Creditor Flagler S.C. LLC brett.goodman@afslaw.com, john.murphy@troutman.com

Brian Morgan
                          on behalf of Creditor UG2 Solon OH LP brian.morgan@faegredrinker.com

Brian Morgan
                          on behalf of Creditor PRW Urban Renewal 1 LLC brian.morgan@faegredrinker.com

Brian Morgan
                          on behalf of Creditor Prologis brian.morgan@faegredrinker.com

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Brittany B Falabella
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Carol L. Knowlton
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                          on behalf of Interested Party NORTHWOODS III (SAN ANTONIO) LLC loizides@loizides.com

Clayton Daniel Harvey
                          on behalf of Creditor Federal Heath Sign Company LLC charvey@sgrlaw.com

Colin R. Robinson
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Courtney Brown
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                          ecfnydocket@vedderprice.com,courtney-brown-3667@ecf.pacerpro.com

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Dana S. Plon
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Dana S. Plon
                          on behalf of Creditor Simsbury Commons LLC dplon@sirlinlaw.com

Dana S. Plon
                          on behalf of Creditor Middletown Shopping Center I L.P. dplon@sirlinlaw.com

Dana S. Plon
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Daniel Stolz
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Daniel M Pereira
                          on behalf of Creditor Commerce Technologies LLC dpereira@stradley.com

Daniel M Pereira
                          on behalf of Creditor ChannelAdvisor Corp. dpereira@stradley.com

Daniel N. Zinman
                          on behalf of Creditor W.B.P. Central Associates LLC dzinman@kandfllp.com,
                          skossar@kandfllp.com;cvalenzuela@kandfllp.com;foreclosure@kandfllp.com

Daniel R. Utain
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David Edelberg
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David Graff
                          on behalf of Creditor Telegraph Marketplace Partners II LLC dgraff@graffsilversteinllp.com

David H. Pikus
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David H. Stein
                          on behalf of Creditor Enid Two LLC dstein@wilentz.com, ciarkowski@wilentz.com
          Case 23-13359-VFP           Doc 1169 Filed 07/02/23                        Entered 07/03/23 00:15:00                       Desc
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Date Rcvd: Jun 30, 2023                                     Form ID: pdf903                                                         Total Noticed: 10
David L. Bruck
                          on behalf of Creditor Chase Green Mountain LP bankruptcy@greenbaumlaw.com

David L. Bruck
                          on behalf of Creditor Chenal Place Properties LLC bankruptcy@greenbaumlaw.com

David L. Bruck
                          on behalf of Creditor Triple B Mission Viejo LLC bankruptcy@greenbaumlaw.com

David L. Bruck
                          on behalf of Creditor Almaden Plaza Shopping Center Inc. bankruptcy@greenbaumlaw.com

David L. Bruck
                          on behalf of Creditor Brothers International Holding Corporation and Almaden Plaza Shopping Center Inc.
                          bankruptcy@greenbaumlaw.com

David M Stauss
                          on behalf of Creditor CBL & Associates Management Inc. david.stauss@huschblackwell.com,
                          serena.hill@huschblackwell.com;david-stauss-2550@ecf.pacerpro.com

David M Stauss
                          on behalf of Interested Party Safety National Casualty Corporation david.stauss@huschblackwell.com
                          serena.hill@huschblackwell.com;david-stauss-2550@ecf.pacerpro.com

David M. Bass
                          on behalf of Debtor Bed Bath & Beyond Inc. dbass@coleschotz.com

David P. Primack
                          on behalf of Creditor THF/MRP Tiger Town LLC dprimack@mdmc-law.com, kpatterson@mdmc-law.com

David P. Primack
                          on behalf of Creditor TKG Woodmen Commons LLC dprimack@mdmc-law.com, kpatterson@mdmc-law.com

David P. Primack
                          on behalf of Creditor THF Harrisonburg Crossing LLC dprimack@mdmc-law.com, kpatterson@mdmc-law.com

David P. Primack
                          on behalf of Creditor GKT Shoppes at Legacy Park dprimack@mdmc-law.com kpatterson@mdmc-law.com

David P. Primack
                          on behalf of Creditor TKG Paxton Towne Center Development LP dprimack@mdmc-law.com, kpatterson@mdmc-law.com

David P. Primack
                          on behalf of Creditor GKT Gallatin Shopping Center dprimack@mdmc-law.com kpatterson@mdmc-law.com

David P. Primack
                          on behalf of Creditor SLO Promenade DE LLC dprimack@mdmc-law.com kpatterson@mdmc-law.com

David P. Primack
                          on behalf of Creditor TKG-Manchester Highland dprimack@mdmc-law.com kpatterson@mdmc-law.com

David P. Primack
                          on behalf of Creditor TKG Coral North LLC dprimack@mdmc-law.com, kpatterson@mdmc-law.com

David P. Primack
                          on behalf of Creditor TKG Monroe Louisiana 2 LLC dprimack@mdmc-law.com kpatterson@mdmc-law.com

David P. Primack
                          on behalf of Creditor Wedgewood Hills Inc. dprimack@mdmc-law.com, kpatterson@mdmc-law.com

David P. Primack
                          on behalf of Creditor Epps Bridge Centre Property Co LLC dprimack@mdmc-law.com, kpatterson@mdmc-law.com

David P. Primack
                          on behalf of Creditor Carson Valley Center LLC dprimack@mdmc-law.com, kpatterson@mdmc-law.com

David P. Primack
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David P. Primack
                          on behalf of Creditor Shreve Center DE LLC dprimack@mdmc-law.com kpatterson@mdmc-law.com

David P. Primack
                          on behalf of Creditor TKG Logan Town Centre LP dprimack@mdmc-law.com kpatterson@mdmc-law.com

David P. Primack
                          on behalf of Creditor Manhattan Marketplace SC LLC dprimack@mdmc-law.com kpatterson@mdmc-law.com

David P. Primack
                          on behalf of Creditor The Shoppes at Wilton LLC dprimack@mdmc-law.com, kpatterson@mdmc-law.com

David P. Primack
                          on behalf of Creditor TKG Mountain View Plaza LLC dprimack@mdmc-law.com, kpatterson@mdmc-law.com
            Case 23-13359-VFP         Doc 1169 Filed 07/02/23                         Entered 07/03/23 00:15:00               Desc
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David P. Primack
                          on behalf of Creditor MCS-Lancaster DE LP dprimack@mdmc-law.com kpatterson@mdmc-law.com

David P. Primack
                          on behalf of Creditor Grand Mesa Center LLC dprimack@mdmc-law.com, kpatterson@mdmc-law.com

David P. Primack
                          on behalf of Creditor TKG Biscayne LLC dprimack@mdmc-law.com, kpatterson@mdmc-law.com

David S. Catuogno
                          on behalf of Creditor Cartus Corporation david.catuogno@klgates.com

Derek J. Baker
                          on behalf of Creditor Cherry Hill Retail Partners LLC dbaker@reedsmith.com

Diane Sanders
                          on behalf of Creditor VICTORIA COUNTY austin.bankruptcy@lgbs.com

Diane Sanders
                          on behalf of Creditor Nueces County austin.bankruptcy@lgbs.com

Diane Sanders
                          on behalf of Creditor San Marcos CISD austin.bankruptcy@lgbs.com

Diane Sanders
                          on behalf of Creditor CAMERON COUNTY austin.bankruptcy@lgbs.com

Diane Sanders
                          on behalf of Creditor McLennan County austin.bankruptcy@lgbs.com

Diane Sanders
                          on behalf of Creditor City of McAllen austin.bankruptcy@lgbs.com

Don Stecker
                          on behalf of Creditor Bexar County sanantonio.bankruptcy@lgbs.com

Don Stecker
                          on behalf of Creditor City of El Paso sanantonio.bankruptcy@lgbs.com

Don A. Beskrone
                          on behalf of Creditor RetailMeNot Inc. DBeskrone@ashbygeddes.com,
                          rpalacio@ashbygeddes.com;snewman@ashbygeddes.com;ahrycak@ashbygeddes.com;gtaylor@ashbygeddes.com;adellose@ashb
                          ygeddes.com

Douglas J. McGill
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TOTAL: 452
